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                         IN THE UNITED STATES DISTRICT COURT 

                             FOR THE DISTRICT OF DELAW ARE 



LINEAR TECHNOLOGY CORPORATION,                         )

                                                       )
                       Plaintiff,                      )
                                                       )
       v.                                              )       c.A. No.   06-476 GMS
                                                       )
MONOLITHIC POWER SYSTEMS, INC.,                        )
                                                       )
                       Defendant.                      )


                                           JUDGMENT

       This action came before the Court for a trial by jury. The issues have been tried and the

jury rendered its verdict on July 1,2008. The verdict was accompanied by a verdict form (D.l.

227), a copy of which is attached hereto. Therefore,

       IT IS HEREBY ORDERED AND ADJUDGED that judgment be and is hereby entered in

favor of the plaintiff, LINEAR TECHNOLOGY CORPORATION and against the defendant,

MONOLITHIC POWER SYSTEMS, INC., that MONOLITHIC POWER SYSTEMS, INC.

infringes Claims 1,2,34,41, and 55 of U.S. Patent No. 5,481,178 ('178 Patent), AND that

MONOLITHIC POWER SYSTEMS, INC., infringes Claims 1,2,3, and 34 of U.S. Patent No.

6,580,258 ('258 Patent), AND that the' 178 and '258


Dated: November /1 ,2008




         1 Certain claims remain pending before the court. This judgment is not a final judgment

as to all claims, consistent with Fed. R. Civ. P. 54(b), but serves to trigger the 10-day limitations
period under Fed. R. Civ. P. 50(b).
